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USDC IN/ND case 1:21-cv-00379-TLS-SLC
                              Allen Superior document
                                             Court 1  6 filed 08/19/21 page 1 ofAllen
                                                                                  5 County, Indiana
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STATE OF INDIANA             )                        IN THE ALLEN SUPERIOR COURT
                             )       SS:
COUNTY OF ALLEN              )                        CAUSE NO.

GAVIN MELNKOVIC,                            )
                                            )
             Plaintiff,                     )
                                            )
     v.                                     )
                                            )
AUTO HANDLING, LLC, d/b/a                   )
JACK COOPER TRANSPORT,                      )
                                            )
             Defendant.                     )


                                        COMPLAINT

     Plaintiff alleges against Defendant that:

     1. The Plaintiff is Gavin Melnkovic, a resident of Allen County Indiana who worked for

          Defendant from November of 2020 through January 14, 2021, at which time Defendant

          terminated Plaintiff for being injured on the job and receiving Worker’s Compensation

          benefits (including medical care) which is contrary to the tort laws and public policies

          of the State of Indiana.

     2. The Defendant is Auto Handling, LLC, d/b/a Jack Cooper Transport, a corporation

          authorized to do business in the State of Indiana and does so at 12502 Fogwell Parkway,

          Roanoke, Indiana 46783.

     3. Defendant is obligated to carry Worker’s Compensation insurance for its employees,

          and Plaintiff was included within the class of employees that Defendant was obligated

          to provide Worker’s Compensation benefits to as required by the Indiana Worker’s

          Compensation Act.


                                                1
USDC IN/ND case 1:21-cv-00379-TLS-SLC document 6 filed 08/19/21 page 2 of 5


    4. On or about January 9, 2021, Plaintiff went into work. Sometime between the hours

       of 7:30 p.m. and 9:00 p.m., Plaintiff suddenly experienced aggravation to his left knee

       which starting hurting. By 11:00 p.m., Plaintiff’s knee was hurting so badly that he

       could barely walk or move. Plaintiff severely limped through the last hour of his shift.

    5. Upon finishing the task of “loading the rail” around midnight that evening, Plaintiff

       went into the building to find his supervisor to report his knee injury. Plaintiff told

       “Gary” that he needed to have the next day off to have his knee checked out to make

       sure nothing was wrong.

    6. For the next two days following that shift (January 10 and 11, 2021), Plaintiff continued

       receiving phone calls from Managers Brad and Arturo who asked Plaintiff to come in

       for shifts, and Plaintiff told him that he had sustained a knee injury while on the job.

    7. On Sunday, January 10, 2021, Plaintiff went to the Emergency Room at Dupont

       Hospital, as OrthoStat was closed, and the ER doctor told Plaintiff that he could not

       run an MRI since it was not considered an emergency, but advised Plaintiff to follow-

       up with OrthoStat the following day.

    8. On Monday, January 11, 2021, Plaintiff went to Orthostat first thing in the morning.

       A medical provider evaluated the knee and told Plaintiff that she strongly suspected a

       lateral meniscus tear, but could not be certain without MRI imaging. Plaintiff then got

       a steroid injection in his knee and received a referral for physical therapy. The medical

       provider advised Plaintiff to stay off work through Wednesday, January 13, 2021, and

       that Plaintiff could only return to work if his knee was feeling well enough.

    9. After finishing up his appointment at OrthoStat, Plaintiff called Defendant’s Yard


                                            2
USDC IN/ND case 1:21-cv-00379-TLS-SLC document 6 filed 08/19/21 page 3 of 5


       Supervisor, Shannon, and notified Shannon of what the doctor at OrthoStat had told

       him. Shannon asked Plaintiff if he had filled out an accident report the night of the

       injury, and Plaintiff indicated that he had not, but that he did report it. Shannon told

       Plaintiff to go to Jack Cooper that day and fill out an accident report, because the matter

       was not considered a Workman’s Comp claim, so Plaintiff went to Jack Cooper on

       Tuesday, January 12, 2021 to fill out the accident report indicating that he was injured

       at work.

    10. That same day, January 12, 2021, Defendant sent Plaintiff to Parkview Occupational

       Health to see the Worker’s Compensation doctor. The doctor gave Plaintiff a knee

       brace to wear, put Plaintiff on light-duty work restrictions and set a 1-week follow-up

       appointment.

    11. Plaintiff’s Union Steward told Plaintiff that if a Workman’s Comp claim got filed, then

       Plaintiff would be terminated, because he was considered a “casual” employee.

    12. On January 19, 2021, Plaintiff went back to Parkview Occupational Health to follow-

       up with the Worker’s Compensation doctor.           This doctor ordered an MRI since

       Plaintiff was in a great deal of pain.       This doctor also placed Plaintiff on full

       restrictions until the MRI could be completed.

    13. On January 22, 2021, Plaintiff received a telephone call from Jack Cooper’s insurance

       provider saying they wanted to offer Plaintiff a one-time, untaxed payment of

       $5,000.00 in order for Plaintiff to drop the Worker’s Compensation claim. Plaintiff

       then contacted a Worker’s Compensation attorney, Ed Walker with Finderson Law.

    14. The last communication that Plaintiff heard from Jack Cooper was on January 14, 2021,


                                            3
 USDC IN/ND case 1:21-cv-00379-TLS-SLC document 6 filed 08/19/21 page 4 of 5


          and at that time, Shannon (Yard Manager) told Plaintiff that his pay was loaded onto

          his pay card and that Plaintiff should call if he had any questions. Shannon stated that

          it was Jack Cooper policy that during a Worker’s Compensation claim, the company

          paid the wages that the employee was currently owed. Plaintiff then asked if he was

          terminated, but Shannon said she couldn’t comment any further on that issue.

       15. Plaintiff had not heard from Jack Cooper for some time, so on February 25, 2021,

          Plaintiff called his Union Hall to check on his dues, and the Union Hall Receptionist

          told Plaintiff that it was confirmed he was no longer an employee with Jack Cooper.

          Plaintiff believed that he was terminated, and that his termination was the result of

          retaliation by Defendant for being injured on the job and asserting his right to Worker’s

          Compensation benefits, including medical care, in violation of the tort laws and public

          policies of the State of Indiana.

       16. Plaintiff has been harmed and injured as a result of Defendant’s retaliatory termination,

          including the loss of his job and job-related benefits including income. Plaintiff has

          suffered, and will continue to suffer, from physical pain, mental anguish, emotional

          distress, humiliation, embarrassment, inconvenience, delays in medical treatment and

          other damages and injuries for which Plaintiff seeks compensatory damages.

       17. The retaliatory termination of the Plaintiff was intentional and in reckless disregard of

          Plaintiff’s right to be free from retaliatory discharge authorized by Indiana Statute, and

          therefore, Plaintiff seeks punitive damages.

       WHEREFORE, Plaintiff prays for judgment against the Defendant, for compensatory

damages, punitive damages, costs of the action, and for all other just and proper relief in the


                                               4
 USDC IN/ND case 1:21-cv-00379-TLS-SLC document 6 filed 08/19/21 page 5 of 5


premises.

                                       JURY DEMAND

        Pursuant to Rule 38 of the Indiana Rules of Trial Procedure, Plaintiff demands a trial by

jury in this action.



                                                    Respectfully submitted,

                                                    CHRISTOPHER C. MYERS & ASSOCIATES



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